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                            OFFICE OF THE CLERK
                        UNITED STATES DISTRICT COURT
                           Northern District of California
                                        CIVIL MINUTES
 Date: July 26, 2022                 Time: 2:30-3:00                  Judge: EDWARD M. CHEN
                                           30 Minutes

 Case No.: 20-cv-07923-EMC           Case Name: Casa Nido Partnership v. Kwon

Attorney for Plaintiff: Rachel Doughty, Richard Brody
Attorney for Defendant: Sarah Hoffman (Kwon); Rohit Sabnis, Christopher Dow (O'Hanks);
Linda Hsu (Sentry); Mark Chuang (Garibotti)

 Deputy Clerk: Vicky Ayala                               Court Reporter: Ana Dub

                                        PROCEEDINGS

Status Conference - held

                                           SUMMARY

Parties stated appearances.

Defendant O’Hanks is working with an insurance archeologist to uncover other primary or
umbrella carriers. The insurance archeologist may need about three months to complete its
investigation. The investigation period focuses on the period of 1974-1990. Additionally, the
O’Hanks is more information from the Department of Toxic Controlled Substances (DTSC) bout
the March 2022 Amendment which could expand the parties’ liability for the hazardous
substances cleanup. As to the property in question, plaintiff estimates total costs in clean-up will
be 2.4 million dollars. Plaintiff and other defendants prefer to proceed with mediation. O’Hanks
prefers to await further developments.

The Court appoints a Magistrate Judge to oversee discovery disputes. The Court refers the
parties to private mediation with Joshua Bloom to commence mediation discussions no later than
October 31, 2022. This will afford time for the parties to locate additional insurers and obtain
more information from the DTSC while avoid a lengthy and indefinite delay in commencing
mediation. The Court will defer to Mediator Bloom to determine whether the matter is ripe for
mediation and what, if any, sequencing to implement. It is the Court’s intent that the parties will
engage the mediator in earnest. The mediator is directed to provide a brief report on the timing
of the mediation prior to the next status conference.

CASE CONTINUED TO: November 15, 2022, at 2:30 P.M., for Status Conference. Joint
CMC statement due by 11/8/2022.
